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                   DECLARATION OF JOHN MARK SUHY IN SUPPORT OF
                    EMERGENCY MOTION TO STAY ENFORCEMENT OF
                            JUDGMENT PENDING APPEAL



              I, John Mark Suhy Jr, declare as follows:


                 1. Personal Financial Situation:


                        • I am the primary breadwinner for my family. My monthly

                          living expenses include essential costs such as rent/mortgage,

                          utilities, food, and transportation.

                        • My wages are currently subject to a 25% garnishment as part of

                          the enforcement of the judgment entered in favor of Neo4j, Inc.,

                          which has significantly impacted my ability to meet my family’s

                          basic living expenses.


                 2. Intent to File Chapter 7 Bankruptcy:


                        • Due to the financial hardship caused by garnishment and my

                          inability to satisfy the judgment, I intend to file for Chapter 7

                          bankruptcy in Virginia on January 9, 2025, the day before the

                          garnishment review scheduled in Fairfax Circuit Court on

                          January 10, 2025. (Exhibit A)
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                        • Filing bankruptcy will automatically halt all collection efforts

                          under 11 U.S.C. § 362 and likely render the judgment

                          uncollectible, eliminating any potential recovery for Neo4j, Inc.


                 3. Tenancy by the Entirety Protections: My wife and I own all

                        our property, including our home and bank accounts, as tenants

                        by the entirety under Virginia law. These jointly held assets are

                        immune from attachment by creditors pursuing claims against me

                        individually, further limiting Neo4j’s ability to recover through

                        enforcement measures.

                 4. Creditors and Liabilities: I also have a personal credit card

                        liability of approximately $10,000 and personal guarantees for two

                        business credit cards, one with a balance of approximately $1,600

                        and another with minimal debt. These obligations, while modest,

                        illustrate my overall financial strain and demonstrate that forced

                        bankruptcy would negatively affect other creditors beyond Neo4j.

                 5. Public Interest Considerations: This appeal raises significant

                        public interest issues concerning open-source licensing compliance

                        under the GPLv3 and AGPLv3 frameworks. A ruling in favor of

                        Neo4j could undermine these foundational licenses, jeopardizing
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                        decades of work within the open-source community and technology

                        ecosystem. The forthcoming amicus brief from the Free Software

                        Foundation underscores the broader implications of this case.

                 6. Alternative Security Proposal: Despite my financial hardship,

                        I propose to pay $200 per month as alternative security during the

                        pendency of this appeal. This demonstrates my good faith and

                        willingness to comply with the Court’s judgment while minimizing

                        prejudice to Neo4j.

                 7. Urgency of the Motion: This motion must be decided on an

                        emergency basis, as the garnishment review in Fairfax Circuit

                        Court is scheduled for January 10, 2025, and my intent to file

                        bankruptcy on January 9, 2025, underscores the need for

                        immediate relief.

                 8. Exhibit A: Attached as Exhibit A to this declaration is a copy of

                        the garnishment summons issued by the Fairfax Circuit Court for

                        review on January 10, 2025. This document illustrates the

                        urgency of this motion and the significant impact garnishment

                        proceedings will have on my financial situation.
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                 9. Exhibit B: Attached as Exhibit B is a cease and desist letter sent

                        from the Free Software Foundation (FSF) to Neo4j related to the

                        AGPLv3 license in which the FSF is the copyright holder of.


              I declare under penalty of perjury under the laws of the United States

              of America that the foregoing is true and correct.


              Executed on 12/27/2024
              From Alexandria, VA


              John Mark Suhy Jr.
              /s/ John Mark Suhy Jr. Pro Se
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